           Case 2:13-cr-02076-FVS          ECF No. 323            filed 05/14/14             PageID.809 Page 1 of 2
PROB 12B
(7/93)

                                         United States District Court

                                                            for the

                                          Eastern District of Washington

                        Request for Modifying the Conditions or Term of Supervision
                                       with Consent of the Offender
                                        (Probation Form 49, Waiver of Hearing is Attached)




 Name of Offender: Aaron Cooper                                   Case Number: 0980 2:13CR02076-006
 Name of Sentencing Judicial Officer: The Honorable Fred Van Sickle, Senior U.S. District Judge
 Date of Original Sentence: March 19, 2014                        Type of Supervision: Supervised Release
 Original Offense: Simple Possession of Heroin, 21                Date Supervision Commenced: March 19, 2014
 U.S.C. § 844(a)
 Original Sentence: Prison - 1 day; TSR - 12 months               Date Supervision Expires: March 18, 2015


                                           PETITIONING THE COURT

To modify the conditions of supervision as follows:


17          You shall abstain from alcohol and shall submit to testing (including urinalysis and Breathalyzer), as
            directed by the supervising officer, but no more than six tests per month, in order to confirm continued
            abstinence from this substance.


                                                           CAUSE

Mr. Cooper was sentenced on March 19, 2014. Since that date, he admits to using alcohol, but states he did not use
it in excess. He recognizes this is a violation of his terms of his treatment and therefore, in an effort to support his
sobriety and commitment to treatment, he agrees to the above condition modification.




                                                                                        Respectfully submitted,
                                                                               by       s/Stephen Krous
                                                                                        Stephen Krous
                                                                                        U.S. Probation Officer
                                                                                        Date: May 14, 2014
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THE COURT ORDERS

[   ]       No Action
[   ]       The Extension of Supervision as Noted Above
[   ]       The Modification of Conditions as Noted Above
[   ]       Other

                                                                             Signature of Judicial Officer

                                                                              5/14/15
                                                                             Date
